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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 21-cr-00013-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. ANDRES CUETARA,

       Defendant.


                        PROTECTIVE ORDER FOR DISCOVERY


      THIS MATTER comes before the Court on the government’s unopposed motion
for a protective order for information and documents related to the investigation of a
Tor-based hidden services website (“TARGET WEBSITE”). Pursuant to Fed. R. Crim.
P. 16(d)(1), and for good cause shown, IT IS HEREBY ORDERED AS FOLLOWS:
           1. Defense counsel shall keep the discovery and any notes or other
               materials prepared based upon or referring to the TARGET WEBSITE in
               confidence 1 and shall use them exclusively in connection with this case
               (including trial preparation, trial, and appeals or other related legal
               proceedings) and for no other purpose.
           2. The discovery which relates to the investigation of the TARGET
               WEBSITE may be viewed only by defense counsel, the defendant, and
               members of the defense team, including any defense investigators and
               staff, as well as experts, as necessary for the purposes of preparing a
               defense in this particular case. Defense counsel shall ensure that


1 Confidence means that the materials shall not be disclosed to any person who is not

a member of the defense team.
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            members of the defense team will read this Order and are informed of
            their responsibility to safeguard this information.
         3. Defense counsel and/or their staff shall make copies of the discovery
            related to the TARGET WEBSITE only as necessary to prepare a
            defense in this case.
         4. No copies of the discovery related to the TARGET WEBSITE shall be
            provided to the defendant, his family members, friends, or associates,
            under any circumstances without petition to and further order of the
            Court. The defendant may be allowed to view the discovery related to the
            TARGET WEBSITE, but only while in the direct presence of the defense
            counsel or a member of the defense team, including any defense
            investigators or staff, as well as experts.
         5. A redacted version of the discovery which relates to the investigation of
            the TARGET WEBSITE will be provided to defense counsel; said
            redacted version of the discovery material may be provided to the
            defendant.
         6. A copy of this Order shall be kept with the records at all times.




Dated this _____ day of _______, 2021




                                                          BY THE COURT:


                                                          ________________________
                                                          HON. RAYMOND P. MOORE
                                                          United States District Judge
